                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In re:                                    )     Case No. 22-10571
                                          )
Matthew M. Motil,                         )     Chapter 7
                                          )
      Debtor.                             )     Judge Harris
______________________________________________________________________________

        DEBTOR’S OBJECTION TO MOTION OF LORI REHN FOR
        RELIEF FROM STAY AND MEMORANDUM CONTRA
______________________________________________________________________________

         The Debtor, Matthew M. Motil, by and through his undersigned counsel, OBJECTS to

the Motion of Lori Rehn for Relief from Stay [Docket No. 31] (the “Motion”). In support of his

Objection, the Debtor respectfully sets forth the following Memorandum.

                        Jurisdiction, Venue, and Procedural Posture

         The Debtor filed this case on March 7, 2022. This court has jurisdiction under 28 U.S.C.

Sections 157 and 1334. Venue is proper in this court under 28 U.S.C. Sections 1408 and 1409.

This is a core proceeding under 28 U.S.C. Section 157(b)(2), and the Debtor consents to the

entry of final orders by this Court.

                               Pre-Petition Background

         Prior to the pandemic, the Debtor had assembled a substantial portfolio of rental real

estate. The financing to purchase the various properties consisted largely of loans made by

private lenders at very high rates of interest, generally 10% to 12%. Immediately prior to the

onset of the pandemic, the Debtor was able to purchase the business assets of a gym in

Twinsburg, Ohio, followed by an additional gym in downtown Cleveland. The onset of the

pandemic, with the accompanying closure of gymnasiums, the resignation of staff members, and

the reluctance of the general public to enter gymnasiums, was devastating to the gym portion of

                                                  1



22-10571-aih       Doc 39     FILED 05/26/22       ENTERED 05/26/22 13:58:33           Page 1 of 6
the Debtor’s businesses. At the same time, the Debtor found himself overwhelmed by the scope

and details of the real estate rental business. Eventually, all of the Debtor’s businesses failed.

                                 State Court Litigation

       The failure of the various businesses engendered, among other things, a cascade of state

court litigation. The Motion is correct when it indicates that the Debtor’s schedules reference

more than a dozen separate cases filed in courts of common pleas. Moreover, the common pleas

cases are venued in several Ohio counties in addition to Cuyahoga County. In an effort to

preserve as much value as possible for the real estate portfolio, the Debtor developed a strategy

of seeking a receivership over his own properties, with the goal of having all the real estate sold

at maximum value by the receiver with the assistance of the Kiko real estate firm in Canton.

       The strategy of seeking a receivership for purposes of selling the real estate at maximum

value was designed to benefit creditors, even though it would have foreclosed the possibility of

the debtor continuing to operate the real estate portfolio. Ultimately, the strategy was not

successful, and the court of common pleas denied the motion. Significantly, though, a different

court of common pleas granted a creditor’s motion to appoint Zachary Burkons as receiver for all

of the businesses and for all of Dr. Motil’s property. The receivership order imposed a stay over

all other litigation pending in the state courts against the Debtor or his business entities. In

response to perceived irregularities in the process of appointing the receiver, a group of creditors

appealed the receivership order, and the entire mass of state court litigation now remains

suspended by the stay issued by the court of common pleas, as well as the pendency of the state

court appellate process. Realizing that the goal of selling the real estate portfolio could not be

achieved expeditiously, and also realizing that the shear scope and mass of state court litigation

he was facing would require bankruptcy relief, the Debtor commenced this case.



                                                   2



22-10571-aih       Doc 39     FILED 05/26/22       ENTERED 05/26/22 13:58:33             Page 2 of 6
                                       The Martin Factors

       In the Motion, Ms. Rehn cites the 6th Circuit BAP case of In re Martin, 542 B.R. 199 (6th

Cir. BAP 2015). Martin sets forth a five part list of factors for the court to use in deciding

whether to lift the automatic stay to allow litigation to proceed in another forum. The Martin

factors include the following: (1) judicial economy; (2) trial readiness; (3) the resolution of

preliminary bankruptcy issues; (4) the creditor’s chance of success on the merits; and (5) the cost

of defense or other potential burdens to the bankruptcy estate and the impact of the litigation on

other creditors. Lists of factors like the ones set forth in Martin may provide courts with a useful

framework for analysis, but the usefulness of any such list ultimately depends on a careful

application of the facts of each case. As this Court has pointed out in a similar context, “This is a

multi-factor balancing test, not a rule in which every element must be satisfied.” Butler v.

Cortland Sav. & Banking Co. (In re Butler), 2020 Bankr. LEXIS 2063; 2020 WL 4809902

(Bankr. N.D. Ohio 2020).

       In this case, the correct application of the Martin factors to the facts of the case reveals

that relief from stay should not be granted, and the Motion must be denied.

                                       Judicial Economy

       The first factor to consider is judicial economy. Is it more efficient and a better use of

judicial resources for one judge to understand the set of issues which repeats in all of the pending

common pleas cases, or is it more efficient and a better use of judicial resources for multiple

judges to consider substantially identical fact patterns presented in many different cases and

jurisdictions? To ask the question is to know the answer. Moreover, centralizing all of the nearly

identical cases in this forum is likely to produce a much more efficient use of legal resources.

There are already two requests for stay relief in this court, and the Debtor believes others may



                                                  3



22-10571-aih      Doc 39     FILED 05/26/22       ENTERED 05/26/22 13:58:33             Page 3 of 6
follow. It is difficult to argue that judicial economy will be achieved through stay relief,

particularly with so many pending state court cases. Just as importantly, judicial economy is

better served if the Bankruptcy Court determines all factors in connection with Ms. Rehn’s

claims, as opposed to having a common pleas judge determine some factors in a lengthy trial

with the Bankruptcy Court stepping in to assess dischargeability afterwards.

                                       Trial Readiness

       The second Martin factor is trial readiness. The lawyers who represented the Debtor prior

to this bankruptcy case have reported to the undersigned counsel that not a single deposition has

been taken in any of the common pleas cases. Moreover, those same lawyers have reported that

no discovery requests have been exchanged, and that the involvement of the courts of common

pleas has been minimal, consisting of pretrial conferences only, with no case management orders

issued. In the Motion, Ms. Rehn asserts that her lawsuit has been pending for over a year, and

that dischargeablity litigation in this court is just now commencing. She asserts that the litigation

concerning her case is at a much more advanced stage.

       The reality is far different. Although Ms. Rehn’s case may have been filed for an extend

period of time (since April 15, 2021), her case has not advanced at all. No depositions, no

discovery, no trial date, and perhaps most importantly, no movement at all since the imposition

of a stay in the receivership order issued in Cuyahoga County. The pendency of an 8th District

appeal in the Ohio Court of Appeals is the cherry on top of the immobility Sundae. Even if this

court granted relief from stay, Ms. Rehn’s suit could not proceed.

                               Resolution of Bankruptcy Issues

       The third Martin factor is the resolution of preliminary bankruptcy issues. That factor

also cuts in favor of maintaining Ms. Rehn’s claims in this court. The 341 meeting has just been



                                                  4



22-10571-aih      Doc 39     FILED 05/26/22        ENTERED 05/26/22 13:58:33            Page 4 of 6
held, and has been continued by the Trustee. Among other issues facing the Debtor and the

Trustee is whether the Gordian Knot of litigation currently pending may best be untied by filing

bankruptcy proceedings for some or all of the Debtor’s business entities to permit an efficient

and expeditious sale of the various parcels of real estate under section 363. A sale of the real

estate in this court would entail resolution of priority of lien issues which would benefit all

creditors claiming interest in the properties, and might also facilitate certain global settlements

advantageous to all parties.

                        Creditor’s Chance of Success on the Merits

        The fourth Martin factor is the creditor’s chance of success on the merits. As a

preliminary matter, the creditor will have no chance of success in the state court while all of the

state court litigation remains stayed as a result of the receivership order and the pending appeal.

Ms. Rehn evidently believes that she has a greater chance of success on the merits in the state

court than in this court, and she has articulated that her request for a jury is entitled to deference.

However, this court has exclusive jurisdiction over dischargeability issues, and this court must

eventually hear those issues regardless of how long the Cuyahoga County case remains inactive.

None of the issues in the case are unique to state law or beyond the competency of this court.

Moreover, any argument that Ms. Rehn has a better chance of success in the Cuyahoga County

venue than she does in this court smacks of forum shopping and should not be credited in this

Court’s analysis.

                                Cost Burdens and Impact of Litigation

        The final Martin factor pertains to the cost of defense or other potential burden to the

bankruptcy estate and the impact of the litigation on other creditors. As the discussion above

indicates, centralizing the nearly identical cases of various creditors in this court is in the best



                                                   5



22-10571-aih        Doc 39     FILED 05/26/22       ENTERED 05/26/22 13:58:33             Page 5 of 6
interests of the estate and all parties because it will minimize duplication, maximize efficiency,

shorten time, and potentially lead to settlements among multiple parties which might not be

possible if the litigation remains in its current fractured state in multiple venues. This is

obviously particularly true in this case, where Ms. Rehn’s Complaint in this court has been filed,

an Answer is due on June 9, 2022, and the doors to the courtroom are open for business.



       WHEREFORE, The Debtor respectfully requests that this Court DENY the Motion for

Relief from Stay, maintain jurisdiction over Ms. Rehn’s Adversary Proceeding, and resolve the

dischargeability issues together with any other pending issues affecting Ms. Rehn’s claims.

                                                       Respectfully submitted,
                                                       /s/Thomas W. Coffey
                                                       Thomas W. Coffey (0046877)
                                                       Coffey Law LLC
                                                       2430 Tremont Avenue
                                                       Cleveland, OH 44113
                                                       (216) 870-8866
                                                       tcoffey@tcoffeylaw.com

                                                       Counsel for the Debtor


                                       Certificate of Service

I hereby certify that a copy of the foregoing Debtor’s Objection to Motion of Lori Rehn for
Relief from Stay and Memorandum Contra was served on Eric R Neuman and all other counsel
of record in this case through the Court’s electronic filing system on this 26th day of May, 2022.


                                                       /s/ Thomas W. Coffey
                                                       Thomas W. Coffey (00468777)




                                                  6



22-10571-aih      Doc 39     FILED 05/26/22        ENTERED 05/26/22 13:58:33            Page 6 of 6
